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                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                         Plaintiffs-Appellees,
                                 v.
U.S. FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOOK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
       and Research, U.S. Food and Drug Administration; UNITED STATES
   DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
            Secretary, U.S. Department of Health and Human Services,
                                                   Defendants-Appellants,
                        DANCO LABORATORIES, L.L.C.,
                                             Intervenor-Appellant.

   BRIEF OF LOCAL GOVERNMENTS AS AMICI CURIAE IN
   SUPPORT OF THE GOVERNMENT'S AND INTERVENOR’S
        REQUESTS FOR A STAY PENDING APPEAL


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                CERTIFICATE OF INTERESTED PERSONS

      Alliance for Hippocratic Medicine, et al. v. U.S. Food and

Drug Administration, et al.

      The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that

the judges of this court may evaluate possible disqualification or recusal.

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      American Association of Pro-Life Obstetricians &

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                          STATEMENT OF INTEREST

         Over 20 years ago, the U.S. Food and Drug Administration (FDA) reviewed

robust scientific evidence and determined that mifepristone is safe under the

approved conditions of use. Since its approval, more than five million pregnant

people in the United States have used mifepristone and a companion medication,

misoprostol, to safely terminate their pregnancies. Indeed, over half of all abortions

are now performed with this safe, effective medication. If allowed to take effect, the

district court’s order would run counter to decades of clear scientific evidence and

upend legal precedent. The impacts of this order would be felt across the United

States, including in amici’s jurisdictions, since mifepristone has legal uses in every

state.

         Amici are cities, counties, and local government entities from across the

country.1 We file this brief to highlight the shared interest and responsibility of local

governments in protecting the health and safety of our residents, including access to

essential healthcare such as reproductive healthcare. Some amici administer public

health systems that depend on the availability of healthcare, including access to

mifepristone. Without access to mifepristone, amici will bear heightened health and


1
  All parties have consented to the filing of this brief. No counsel for a party authored
this brief in whole or in part, and no party or counsel for a party made a monetary
contribution intended to fund its preparation or submission. No person other than
Amici or Amici’s counsel made a monetary contribution to the preparation or
submission of this brief. A list of all Amici is available at Appendix A.

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economic costs. Restrictions on medication abortion will overburden health systems.

Pregnant people who are unable to access medication abortion care in a timely

manner will have worse outcomes. If denied access to mifepristone, pregnant people

will undergo procedural abortion, will delay abortion care, terminate their

pregnancies using alternative means that present additional risks or side effects or

complication, or may be forced to carry pregnancies to term against their will.

      In all instances, there will be devastating consequences for amici. With an

increase in procedural abortions, clinics will become overwhelmed with individuals

traveling to access care. Abortions that are performed later in pregnancy increase

cost and risk. And medication abortions that are performed without mifepristone

carry increased risk of side effects, harming amici’s residents and increasing the

strain on local governments.

      What is more, the district court’s opinion is at odds with bedrock precedent

governing Article III standing and the preliminary injunction standard. Putting aside

the facts of the case, which are in and of themselves consequential, amici fear

significant disruption to litigation across the country if the district court’s reasoning

on these issues is allowed to stand.

                          SUMMARY OF ARGUMENT

      Just nine months ago, the U.S. Supreme Court overruled 50 years of precedent

in order to “return the issue of abortion to the people’s elected representatives.”



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Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2243 (2022). Amici local

government entities do not agree with the conclusion in Dobbs but take the

decision’s words at face value. Now, the ink barely dry, that admonition rings hollow

as a result of the district court’s order and the threat it poses to abortion access across

the country. In rewriting standing jurisprudence and overlooking other procedural

infirmities in the plaintiffs’ lawsuit, the decision contains many grievous errors that

warrant a stay of the injunction. The outcome is an overreach of judicial authority,

wrong as a matter of law, and clearly unjustified on the merits.2

       But even if the decision below presented a closer call, the specific context of

this decision, coming nearly 23 years after FDA approval of mifepristone,

necessitates a stay pending appeal. There is too much uncertainty surrounding the

order and too much abruptness for immediate implementation of the district court’s

groundless order. Thus, for the reasons that follow and for the reasons provided by

the Government and Intervenor, a stay should issue immediately.




2
  By amici’s count, the district court’s decision included at least seven clear errors
of law. Among other things, plaintiffs lacked standing (injury in fact, causation, and
redressability), the claims are time-barred, plaintiffs’ failed to administratively
exhaust, the FDA’s decision was legally sound, a preliminary injunction is not
warranted because of plaintiffs’ delay, and—given the FDA’s specific authority to
unwind approval through its own processes—the remedy is wrong under federal law.
Any of these errors would be sufficient for a stay. Amici local governments focus on
only some of them given their particular interests at stake and that many are well-
covered by parties and other amici in the case.

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                                    ARGUMENT

      In deciding a motion to stay pending appeal, the Court considers the following

factors: “(1) whether the stay applicant has made a strong showing that [they are]

likely to succeed on the merits; (2) whether the applicant will be irreparably injured

absent a stay; (3) whether issuance of the stay will substantially injure the other

parties interested in the proceeding; and (4) where the public interest lies.” Veasey

v. Perry, 769 F.3d 890, 892 (5th Cir. 2014) (quoting Nken v. Holder, 556 U.S. 418,

426 (2009)). While the first two factors are often considered the most significant, all

four factors fall in favor of the stay in these proceedings.

      I.      THE GOVERNMENT IS LIKELY TO SUCCEED ON THE
              MERITS BECAUSE PLAINTIFFS DO NOT HAVE STANDING

      The district court clearly erred in its conclusion that the plaintiffs had standing

in this suit. The decision rests on flawed logic, misconstruction of precedent, and a

tortured understanding of Article III’s requirements when it comes to injuries in fact

and redressability. Amici local governments are concerned that such a precedent, if

affirmed, would enable actors with no direct connection to the law or regulation to

sue if they come into contact with third parties affected in some way by said

regulation.

              A.    Plaintiffs have not suffered an injury in fact.

      The district court’s decision failed to identify harm cognizable under Article

III. First, the court’s third-party standing analysis is illogical. Plaintiffs purport to

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be suing to vindicate the rights of patients. But the remedy sought in this case would

restrict patients’ rights, by making unavailable a medication that they would

otherwise have chosen to use. That hardly fits the mold of third-party standing. See,

e.g., June Med. Services L.L.C. v. Russo, 140 S. Ct. 2103, 2118–19 (2020),

abrogated by Dobbs, 142 S. Ct. 2228 (The Supreme Court has “generally permitted

plaintiffs to assert third-party rights in cases where the enforcement of the challenged

restriction against the litigant would result indirectly in the violation of third parties’

right.”) (internal quotation omitted).

       Second, the district court’s logic effectively eliminates the principle that “the

party seeking review be himself among the injured.” Lujan v. Defs. of Wildlife, 504

U.S. 555, 563 (1992). Instead, under the analysis of the district court, any parties

would enjoy Article III standing so long as they could conjure up some downstream

effect (however speculative) that might affect them at some point. Imagine, for

example, that a municipality exercises eminent domain over an undeveloped parcel

of land in order to build a public playground. The property owner declines to bring

a Fifth Amendment takings claim. Nevertheless, a doctor who lives nearby—and

opposes the construction of a park near her home—files a lawsuit asserting an

unconstitutional taking. She asserts that she fears (1) the playground will lead to

children being injured; (2) those injured will seek care from her; and (3) she will

have to divert time and resources from other patients. That doctor’s standing theory



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is indistinguishable from plaintiffs’ theory here. By allowing such suits to proceed,

the district court’s logic would not just open the standing floodgates, it would

eliminate them entirely.3

      Third, the district court relied upon discredited research to assert that

psychological harm from abortions made these patients less likely to assert their

interests in court. The court’s reliance on Priscilla Coleman was clearly erroneous,

as her research falls outside of the mainstream of the scientific academy and her

opinions have been found to be unreliable by both state and federal courts. See, e.g.,

Adams & Boyle, P.C. v. Slatery, 494 F. Supp. 3d 488, 538 (M.D. Tenn. 2020);

Planned Parenthood of Indiana & Kentucky, Inc. v. Comm’r, Indiana State Dep’t of

Health, 273 F. Supp. 3d 1013, 1036 (S.D. Ind. 2017). Based upon another study, the

district court made assertions about lack of informed consent. Yet that entire sample

consists of anonymous blog posts on a website designed for women who regret their



3
  The district court’s standing analysis would effectively provide doctors with an
atextual exception to Article III’s case-or-controversy requirements. See Gov’t Mot.
for Stay at 7 (highlighting that an “association of doctors” could “challenge the
licensing of federal firearms dealers” or “allegedly inadequate highway safety
standards”). But the district court’s logic is not limited to claims asserted by medical
professionals. Assume a school district issues a set of procedures around pupil
suspensions and expulsions. No students (or their parents) challenge those
procedures on due process grounds. Nevertheless, a group schoolteachers from a
neighboring school district files a lawsuit alleging due process violations, asserting
that they fear (1) more students will be suspended or expelled from the nearby school
district; (2) students will then enroll in their school district; and (3) the teachers will
then need to divert time and resources away from other students.

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abortions. See Alliance for Hippocratic Medicine, et al., v. U.S. Food and Drug

Administration, et al., No. 2:22-CV-223, at 8, (N.D. Texas Apr. 7, 2023) (order

granting in part plaintiffs’ motion for preliminary injunction). In fact, longitudinal

studies have found that people who are denied abortions—including access to

medication abortion—are more likely to experience psychological harms.4

      Fourth, to the extent the harm that plaintiffs seek to remedy is having to see

less of “these types of patients,” that is not cognizable. Caring for patients is what

doctors do. They do not get to choose which complications they like or do not like.

They may not care for the choices their patients make, but their obligation to provide

care exists nonetheless. Patients may be smokers, obese, have a history of untreated

disease in their families, not exercise, drink excessively or make many other choices

about their lives and their health that a doctor might not agree with. But when a

patient arrives seeking care, it must be provided. See, e.g., 42 U.S.C. § 1395dd

(requiring the provision of appropriate screening and stabilizing treatment when any

patient arrives at an emergency department and requests treatment). To the extent

plaintiffs have a religious objection to providing specific care to a particular patient,




4
  See, e.g., Corinne H. Rocca et al., Emotions and decision rightness over five years
following an abortion: An examination of decision difficulty and abortion stigma,
Social Science and Medicine (2020); and Biggs MA, Brown K, Foster DG,
Perceived abortion stigma and psychological well-being over five years after
receiving or being denied an abortion, PLoS ONE (15)(1), Jan. 29, 2020.

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the answer is not to take a sledgehammer and eliminate FDA-approval for safe and

effective medicine to millions of people across the country.

             B.     Plaintiffs’ claims are not redressable in this litigation.

      The district court also failed to address a core component of the standing

analysis—whether their claims were redressable. Redressability demands that a

dispute be particular and that a remedy impact actual legal rights. Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 107 (1998) (“Relief that does not remedy

the injury suffered cannot bootstrap a plaintiff into federal court; that is the very

essence of the redressability requirement.”). Here, there are two core flaws in any

assessment that plaintiffs’ claims are redressable.

      First, making mifepristone unavailable will not end medication abortions—

and may cause more patients to suffer complications. A two-medicine regimen

comprising of mifepristone and misoprostol is the most common and effective, and

least painful means of providing a medication abortion. But patients can also

terminate pregnancies by taking misoprostol alone. The availability of a

misoprostol-only abortion protocol undercuts plaintiffs’ assertion that their “injury”

can be redressed by limiting patients’ access to mifepristone. Put simply: if plaintiffs

prevail in this lawsuit, it will result in many more misoprostol-only medication

abortions. And side effects from misoprostol-only abortions that could lead to

patients seeking additional medical care are (if anything) more frequent and severe



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than abortions that involve mifepristone. At bottom, the harms about which plaintiffs

complain are not fairly traceable to mifepristone itself, but are connected to the small

chance of complications from pregnancy termination overall. A “win” for plaintiffs

in this lawsuit will therefore not redress plaintiffs’ asserted “injury” of caring for

patients with medication-abortion complications. To the contrary, it may exacerbate

that injury. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013) (injury must

be fairly traceable to the complained-of conduct).

      Second, plaintiffs’ diversion-of-resources theory is undercut by the fact that

more pregnant people experience complications as a result of childbirth than those

who have abortions.5 Mifepristone is eminently safe and used by millions of people

across the country. Plaintiffs may prefer to help patients who are experiencing

complications from childbirth (or other medical issues). But that is not about

diversion of resources. The removal of mifepristone from the market will not change

plaintiffs’ need to treat patients, nor will it reduce the number of patients

experiencing pregnancy-related complications.




5
  See, e.g., Elizabeth Raymond, et al., The comparative safety of legal induced
abortion and childbirth in the United States, Obstet Gynecol., 215-19, (Feb. 2012),
http://unmfamilyplanning.pbworks.com/w/file/fetch/119312553/Raymond%2520et
%2520al-Comparative%2520Safety.pdf.

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      II.    PLAINTIFFS’ DELAY IN SEEKING AN INJUNCTION
             AGAINST FDA APPROVAL UNDERMINES THE ISSUANCE
             OF A PRELIMINARY INJUNCTION AS A MATTER OF LAW

      Amici local governments regularly respond to requests for preliminary

injunctions. The district court’s decision creates concern about broadening the

availability of this remedy beyond what Rule 65 and this Court’s jurisprudence

require.

      First, the two-decades-long delay between the initial approval and this

litigation should end any possibility of a preliminary injunction. Delays by plaintiffs

of far shorter duration have regularly undermined their requests for preliminary

relief. See, e.g., Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) (“a party

requesting a preliminary injunction must generally show reasonable diligence”).

Delays within the plaintiffs’ control often eliminate the availability of this

extraordinary remedy. See Charles Alan Wright & Arthur R. Miller, et a., 11A

Federal Practice & Procedure § 2948.1 (3d ed., Apr. 2017 update). Decisions from

district courts across Texas repeatedly have reached a similar conclusion in far less

extenuating circumstances. See, e.g., Crossover Mkt. LLC v. Newell, A-21-CV-

00640-JRN, 2022 WL 1797359, at 1-2 (W.D. Tex. Jan. 12, 2022) (collecting cases).

      Moreover, a preliminary injunction is supposed to maintain the status quo—

which, in this case, is the availability of mifepristone nationwide. See Univ. of Texas

v. Camenisch, 451 U.S. 390, 395 (1981) (“The purpose of a preliminary injunction



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is merely to preserve the relative positions of the parties until a trial on the merits

can be held.”). Instead, plaintiffs seek to avail themselves of a change in legal

circumstances—the overturning of Roe v. Wade—as the basis for this new relief on

old government action. The complained-of harms relating to mifepristone (if they

existed at all) existed long before plaintiffs instituted suit. There is nothing in the

record that excuses this delay or allows for the issuance of a preliminary injunction

here.6

         Second, modifications to the REMS and other approvals relating to

mifepristone do not open the door to claims challenging the original approval.

Challenges to more recent agency decisions—such as those at issue in

Washington—are appropriate and timely. See State of Washington v. U.S. Food and

Drug Admin., No. 1:23-CV-3026-TOR (E.D. Wash. Apr. 7, 2023) (order granting in

part plaintiffs’ motion for preliminary injunction). But the notion that a slight

modification on a policy can re-open the entire history of related agency decisions

to challenge is both contrary to logic and destabilizing. Amici local governments

routinely make modifications and alterations to policies, some of which are



6
 In a recent order issued by the U.S. Supreme Court, Justice Alito (writing in dissent
of the denial of a stay) noted that a lack of diligence can significantly undermine a
request for emergency relief. West Virginia v. B.P.J., 598 U. S.           (2023), No.
22A800 (“And it is a wise rule in general that a litigant whose claim of urgency is
belied by its own conduct should not expect discretionary emergency relief from a
court.”) (Alito, J., dissenting).

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longstanding. The most-recent amendment does not reopen all of those prior

decisions to review.

      III.   COMPETING COURT RULINGS AND CONFUSION ABOUT
             IMPLEMENTATION OF AN IMMEDIATE INJUNCTION
             DEMONSTRATE THAT A STAY IS IMPERATIVE

      Local governments and their public health systems must now account for this

disruptive ruling that raises complex questions around implementation. The

confusion is significant. Last week—and for almost 23 years prior—the availability

of mifepristone was assured. Next week, access may be disrupted. But maybe not,

given that there is a conflicting decision from a federal court in Washington that

commands the FDA to preserve the status quo on mifepristone–at least in the 17

states that are party to that lawsuit and the District of Columbia.

      Beside the point that the FDA may be unable to comply with both orders,

questions are already proliferating. Will access to mifepristone remain intact in some

states and not others? In those 17 states that are party to the Washington case, and

those with overlapping health systems (state, county, city, federal, tribal), will

anything change at all for their residents’ access to the drug? What about when their

residents (physicians, pharmacists) prescribe or dispense mifepristone to residents

traveling from the other 33 states not party to the Washington case?

      In those 33 states: can doses of mifepristone that have already been acquired

be dispensed? Can licensed and certified physicians prescribe and administer



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mifepristone for non-abortion purposes, such as for managing miscarriages? Can

providers and pharmacists refer for mifepristone/medication abortion interstate,

sending patients to the 17 states where access is presumably protected by the

Washington order?7 A negative or unclear answer to any one of these questions may

cause some local governments to radically alter staff and other resources on a dime—

without knowing for how long—on the basis of the district court’s order. Other local

governments will change nothing. Others still may risk harming their residents and

their health and social services systems out of an abundance of caution to comply

with the order. No matter the choices, there will be significant uncertainty,

confusion, and inconsistency. FDA’s drug regulatory regime is designed to be

national in scope. Failing to issue a stay here will result in incongruous

implementation.

      IV.    THE PUBLIC INTEREST DEMANDS THE ISSUANCE OF A
             STAY

      Amici rely on the courts as neutral arbiters of disputes—both large and

small—covering a range of matters from employment to property to torts and

contracts. We frequently litigate as both plaintiffs and defendants in courts,

including the federal courts. Most of our cases do not receive significant attention,


7
  Among other questions, providers have inquired whether FDA’s approval of
mifepristone for Cushing’s disease allows for off-label prescribing for abortion. Off-
label prescriptions are generally permissible, when supported by scientific data,
under state licensure regimes.

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but they are important to us and the litigants, and to our broader communities.

Having a court system that has public confidence is crucial to allowing us to conduct

our business and resolve our disputes. The district court’s raw exercise of power

where plaintiffs lack standing to invoke such power undermines confidence in the

federal court system. For at least three reasons, a stay is required to ensure a

considered and complete review of that flawed decision before its impacts are

realized.

      First, the district court substituted its own judgment for the considered

evaluation of an expert agency, as well as an established track record of safety for

mifepristone. This should be disfavored. See, e.g., Food & Drug Admin. v. Am. Coll.

of Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021) (“[C]ourts owe

significant deference to the politically accountable entities with the background,

competence, and expertise to assess public health.”) (Roberts, C.J., concurring)

(internal citations omitted). To turn access to care on its head and to create confusion

in the marketplace with an immediately implemented order, especially without the

benefit of a trial and consideration of tested evidence, sows doubt as to whether the

court sits as a neutral rather than yet another political actor in our constitutional

system. This district court’s hasty, poorly informed decision should be reversed for

a host of reasons. But at the very least, it should be stayed pending further

consideration of its merits. Reliance on affidavit testimony, unscientific web



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postings, and spurious and discredited journal articles should not be enough to

override the expert decision-making authority on food and drug safety in America.

        Second, the selection of venue orchestrated through an eleventh-hour

formulation of a corporate entity undermines confidence in the impartiality of the

judiciary. Plaintiffs registered the Alliance for Hippocratic Medicine in Amarillo a

mere three months before filing suit. The location of this entity—which could be

nearly anywhere, but happened to be in the Texas panhandle—appears purposefully

designed to create venue in a particular division of the Northern District of Texas.

More specifically, it appeared to be geared toward ensuring the assignment of Judge

Kacsmaryk (who has a well-known background as an anti-abortion litigator) to the

case.

        To be sure, all of this may fall within the bounds of what federal courts permit.

But allowing a single, hand-picked judge to remove from the market a medication

that has been safely used by millions undercuts confidence in the judiciary. “Justice

must satisfy the appearance of justice.” In re Murchison, 349 U.S. 133, 136 (1955).

The appearance of gamesmanship in this case—combined with the legal and factual

infirmities in the district court’s ruling—warrant, at the very least, a stay.

        Third, disruption in access to mifepristone will imperil the lives and health of

pregnant people in our localities, causing immense harm to those individuals and to

our public health, social services, and emergency medical services. Those who lose



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access to mifepristone may undergo more expensive and invasive procedural

abortion that requires more days off work for the procedure and recovery—

potentially hundreds of miles from home. The district court’s decision will

exacerbate the delays and overcrowding at clinics and hospitals in jurisdictions that

are already managing an influx of patients seeking care. Many who lose access to

mifepristone may turn to drastic and more dangerous alternatives to ending a

pregnancy. Others who are experiencing miscarriages for which mifepristone would

be otherwise prescribed will lose access to that care and will need to access less

effective alternatives. And others still will delay abortion care, leading to more

complications, worse health outcomes, and greater strain on medical providers and

local governments alike.




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                                  CONCLUSION

      For the foregoing reasons and for the reasons provided by the Government

and Intervenor and their other amici, the request for an emergency stay pending

appeal should be granted.



                                       Respectfully submitted,

                                       /s/ Joshua A. Rosenthal

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Dated: April 11, 2023




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                 APPENDIX A — LIST OF AMICI

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                    City of Boston, Massachusetts
                     Bucks County, Pennsylvania
                       City of Cincinnati, Ohio
                       City of Cleveland, Ohio
                       City of Columbus, Ohio
                 City and County of Denver, Colorado
        Harris County, Texas Attorney Christian Menefee
                  County of Los Angeles, California
                     City of Madison, Wisconsin
                    Milwaukee County, Wisconsin
                   City of Minneapolis, Minnesota
                   Montgomery County, Maryland
                    City of Montgomery, Alabama
                     City of Newark, New Jersey
                     City of Oakland, California
             Pima County Attorney’s Office, Arizona
                   City of Pittsburgh, Pennsylvania
                      City of Portland, Oregon
                    City of Sacramento, California
                    City of Santa Cruz, California
                     City of St. Paul, Minnesota
                       City of Tucson, Arizona



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                 Travis County Judge Andy Brown
                 Travis County Attorney Delia Garza
        Washtenaw County Prosecuting Attorney’s Office




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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure, Joshua

A. Rosenthal, counsel of record, hereby certifies that according to the word count

feature of the word processing program used to prepare this brief, the brief contains

3,851 words and complies with the typeface requirements and length limits of Rules

27, 29, and 32(a)(5)-(7) and the corresponding local rules.


                                       /s/ Joshua A. Rosenthal
                                       Joshua A. Rosenthal

Dated: April 11, 2023




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